Case 1:10-cv-10656-PBS Document 1 Filed 04/19/10 Page 1 of 8

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

l l

 

Ma'nStensn : " `
YIO 0 = _ CiviiAction No.:

Plaintiff,
v.

National Credit Adjusters, L.L.C.; and DOES

1-10, inclusive, : COMPLAINT

Defendants.

 

F or this Cornplaint, the Plaintiff, Marion Stenson, by undersigned counsel, states

as follows:

JURISDICTION

l. This action arises out ot`Defendants’ repeated violations of the F air Debt
Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the invasions of Plaintii`Fs
personal privacy by the Defendants and its agents in their illegal efforts to collect a consumer
debt

2. Supplernentai jurisdiction exists pursuant to 28 U.S.C. § 1367.

3. Venue is proper in this District pursuant to 28 U.S.C. § l39l(b), in that the
Defendants transact business in this District and a substantial portion of the acts giving rise to

this action occurred in this District.

PARTIES

4. The Plaintiff, Marion Stenson (“Piaintiff”), is an adult individual residing in

Mashpee, Massachusetts, and is a “consumer” as the term is defined by 15 U.S.C. § 169221(3).

Case 1:10-cv-10656-PBS Document 1 Filed 04/19/10 Page 2 of 8

5. The Defendant, National Credit Adjusters, L.L.C. (“NCA”), is a Kansas business
entity with an address of 327 West 4th Street, Hutchinson, Kansas 67504, operating as a
collection agency, and is a “debt collector” as the term is defined by 15 U.S.C. § 1692a(6).

6. Does i-l 0 (the “Collectors”) are individual collectors employed by NCA and
whose identities are currently unknown to the Plaintiff. One or more of the Collectors may be
joined as parties once their identities are disclosed through discovery.

7. NCA at all times acted by and through one or more of the Coliectors.

ALLEGATIONS APPLICABLE TO ALL COUNTS

A. The Debt

8. The Plaintiff incurred a financial obligation (the “Debt.”) to a creditor (the
“Creditor”) in connection with a payday loan.

9. The Debt arose from services provided by the Creditor which were primarily for
family, personal or household purposes and which meets the definition of a “debt” under 15
U.S.C. § 16923(5).

lO. The Debt was purchased, assigned or transferred to NCA for collection, or NCA
was employed by the Creditor to collect the Debt.

11. The Del`endants attempted to collect the Debt and, as Such, engaged in

“communications” as defined in 15 U.S.C. § l692a(2).

B. NCA Engages in Harassment and Abusive Tactics

12. The Del`endants placed excessive calls to the Plaintiff.

l3. The Defendants telephoned the Plaintiff at work.

Case 1:10-cv-10656-PBS Document 1 Filed 04/19/10 Page 3 of 8

14. The Defendants placed a negative mark on the Plaintiff"s credit report regarding
t the Debt. t

15. In learning of this mark, the Plaintiff called the Defendants. The Defendants
alleged that they mailed the Plaintiff` notices regarding the Debt to an address in Virginia Beach,
Virginia. The Plaintiff stated that she has never lived in the state of Virginia and is from the state
of Massachusetts.

16. The Defendants did not provide the Plaintiff with a validation notice, explaining
her rights under state and federal law, or her right to dispute the Debt.

17. The Defendants used rude and abusive language when speaking to the Plaintiff.

18. The Defendants communicated to the Plaintiff that not paying the Debt amounted
to criminal behavior and stated, "Pay or it's a felony."

19. In telephone conversations, the Defendants implied that they would take some 1
form of legal action if the Plaintiff did not pay the Debt. In fact, the Defendants remarked to the

Piaintiff that they would “go and do what we have to do.”

C. Plaintiff Suffered Actual Darnages

20. The Plaintiff has suffered and continues to suffer actual damages as a result of the
Defendants’ unlale conduct

2l. As a direct consequence of the Defendants’ acts, practices and conduct, the
Plaintiff suffered and continues to suffer from humiliation, anger, anxiety, emotional distress,

fear, frustration and embarrassment

Case 1:10-cv-10656-PBS Document 1 Filed 04/19/10 Page 4 of 8

22. The Defendants’ conduct was so outrageous in character, and so extreme in
degree, as to go beyond all possible bounds of decency, and to be regarded as atrocious, and .

utterly intolerable in a civilized community

cwa
VIOLATIONS OF THE FDC'PA 15 U.S.C. § 1692, et Seql

23. The Plaintiff incorporates by reference all of the above paragraphs of this
Complaint as though fully stated herein.

24. The Defendants’ conduct violated 15 U.S.C. § 1692c(a)(1) in that Defendants
contacted the Plaintiff at a place and during a time known to be inconvenient for the Plaintiff.

25. The Defendants’ conduct violated l5 U.S.C. § 1692d(2) in that Defendants used
profane and abusive language When speaking with the consumer.

26. The Defendants’ conduct violated l5 U.S.C. § 1692e(4) in that Defendants
threatened the Plaintiff with imprisonment if the Debt was not paid.

27. The Defendants’ conduct violated l5 U.S.C. § 1692€(5) in that Del`endants
threatened to take legal action, without actually intending to do so.

28. The Defendants’ conduct violated 15 U.S.C. § 1692e(10) in that Defendants
employed false and deceptive means to collect a debt.

29. The Defendants’ conduct violated 15 U.S.C. § 1692g(a)(1) in that Defendants
failed to send the Plaintiff a validation notice stating the amount of the Debt.

30. The Defendants’ conduct violated 15 U.S.C. § l692g(a)(2) in that Deferidants
failed to send the Plaintifl` a validation notice stating the name of the original creditor to whom

the Debt was owed.

Case 1:10-cv-10656-PBS Document 1 Filed 04/19/10 Page 5 of 8

31. The Defendants’ conduct violated l5 U.S.C. § 1692g(a)(3) in that Defendants
failed to send the Plaintiff a validation notice stating the Plaintiff’s right to dispute the Debt
within thirty days.

32. The Defendants’ conduct violated 15 U.S.C. § 1692g(a)(4) in that Defendants
failed to send the Plaintiff a validation notice informing the Plaintiff of a right to have
verification and judgment mailed to the Plaintiff.

33. The Defendants’ conduct violated 15 U.S.C. § 1692g(a)(5) in that Defendants
failed to send the Plaintiff a validation notice containing the name and address of the original
creditor.

34. The Defendants’ conduct violated 15 U.S.C. § i692g(b) in that Defendants
continued collection efforts even though the Debt had not been validated

35. The foregoing acts and omissions of the Defendants constitute numerous and
multiple violations of the PDCPA, including every one of the above-cited provisions

36. The Plaintiff is entitled to damages as a result of Defendants’ violations

COUNT II
VIOLATION OF THE MASSACHUSETTS CONSUMER PROTECTION ACT,
M.G.L. c. 93A § 2. et seq. `

3?. The Plaintiff incorporates by reference all of the above paragraphs of this
Colnplaint as though fully stated herein.
'38. The Defendants employed unfair or deceptive acts to collect the Debt, in
violation of M.G.L. c. 93A § 2.
39. Defendant’s failure to comply with these provisions constitutes an unfair or
deceptive act under M.G.L. c. 93A § 9 and, as such, the Plaintiff is entitled to double or treble

damages plus reasonable attorney’s fees.

Case 1:10-cv-10656-PBS Document 1 Filed 04/19/10 Page 6 of 8

COUNT III
IN'I`ENTIONAL INFLICTION OF EMOTIONAL DISTRESS

l

40. The Plaintiff incorporates by reference all of lhe above paragraphs of this
Coniplaint as though fully set forth herein at length.

4l. The acts, practices and conduct engaged in by the Defendants vis-a-vis the
Plaintiff was so outrageous in character, and so extreme in degree, as to go beyond all possible
bounds of decency, and to he regarded as atrocious, and utterly intolerable in a civilized
community

42. The foregoing conduct constitutes the tort of intentional infliction of emotional
distress under the laws of the State of l\/Iassachusetts.

43. All acts of Defendants and the Collectors complained of herein were committed
with malice, intent, wantonness, and recklessness, and as such, Defendants are subject to

imposition of punitive damages

C()UNT IV
COMMON LAW FRAUD

44. The Plaintiff incorporates by reference all of the above paragraphs of this
Complaint as though fully stated herein.

45. The acts, practices and conduct engaged in by the Defendants and complained of
herein constitute fraud under the Comrnon Law of the State of Massachusetts.

46. The Plaintiff has suffered and continues to suffer actual damages as a result of the
foregoing acts and practices, including damages associated with, among other things,
humiliation, anger, anxiety, emotional distress, fear, frustration and embarrassment caused by the

Defendants. All acts of Defendants and the Collectors complained of herein were committed

Case 1:10-cv-10656-PBS Document 1 Filed 04/19/10 Page 7 of 8

with malice, intent, wantonness, and recklessness, and as such, Defendants are subject to

punitive damages t

PRAYER FOR RELIEF

WHEREFORE, the Plaintiff prays that judgment be entered against Defendants:

l. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against Defendants;

2. Statutory damages of $l,OO0.00 for each violation pursuant to 15 U.S.C.
§1692k(a)(2)(A) against Defendants;

3. Costs of litigation and reasonable attorney’s fees pursuant to 15.U.S.C. §
1692k(a)(3) against Defendants;

4. Double or treble damages plus reasonable attorney’s fees pursuant to M.G.L.
c. 93A § B(A);

5. Actual damages from Defendants for the all damages including emotional
distress suffered as a result of the intentional, reckless, and/or negligent
FDCPA violations and intentional, reckless, and/or negligent invasions of
privacy in an amount to be determined at trial for the Plaintiff;

6. Punitive damages; and

7. Such other and further relief as may be just and proper.

Case 1:10-cv-10656-PBS Document 1 Filed 04/19/10 Page 8 of 8

TRIAL BY JURY DEMANDED ON ALL COUNTS

Dated: April 19, 2010
Respectfully submitted,
By: /s/ Sergei Lemberg

Sergei Lemberg, Esq. (BBO# 65()671)
LEMBERG & ASSOCIATES L.L.C.
llOO Summer Street, 3rd Floor
Stamford, CT 06905

Telephone: (203) 653-2250

Facsirnile: (877) 795-3666

Attorneys for Plaintiff

